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Vickie L. Driver
State Bar No. 24026886
Christina W. Stephenson
State Bar No. 24049535
Christopher M. Staine
State Bar No. 24104576
CROWE & DUNLEVY, P.C.
Spaces McKinney Avenue
1919 McKinney Avenue, Suite 100
Dallas, TX 75201
Telephone: 214.420.2163
Facsimile: 214.736.1762
Email: vickie.driver@crowedunlevy.com
Email: christina.stephenson@crowedunlevy.com
Email: christopher.stane@crowedunlevy.com

PROPOSED ATTORNEYS FOR DEBTORS

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                §    Chapter 11
                                                      §
THE LASALLE GROUP, INC.,                              §    Case No. 19-31484
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §
WEST HOUSTON MEMORY CARE,                             §    Case No. 19-31485
LLC,                                                  §
                                                      §
         Debtor.                                      §
                                                      §
---------------------------------------------------   §
                                                      §
In re:                                                §
                                                      §    Case No. 19-31486
CINCO RANCH MEMORY CARE,                              §
LLC,                                                  §
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §    Case No. 19-31488
PEARLAND MEMORY CARE, LLC,                            §
                                                      §
         Debtor.                                      §
                                                      §


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---------------------------------------------------     §
In re:                                                  §
                                                        §    Case No. 19-31493
RIVERSTONE MEMORY CARE, LLC,                            §
                                                        §
         Debtor.                                        §


    DEBTORS’ EMERGENCY MOTION FOR ENTRY OF ORDER AUTHORIZING
       JOINT ADMINISTRATION OF CHAPTER 11 CASES PURSUANT TO
     RULE 1015(b) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         The LaSalle Group, Inc. and its above-listed affiliates, as debtors and debtors in

possession in the above-captioned Chapter 11 cases (collectively, the “Debtors”), file this

Debtors’ Emergency Motion for Entry of an Order Authorizing Joint Administration of Chapter

11 Cases Pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Motion”) and in support thereof, respectfully state as follows:

                                 I.       JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is properly before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           II.        BACKGROUND

         2.       On May 2, 2019 (the “Petition Date”), the Debtors filed their voluntary petitions

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

commencing the above captioned cases (the “Chapter 11 Cases”). The Debtors continue to

manage and operate their businesses as debtors-in-possession pursuant to Bankruptcy Code

§§ 1107 and 1108.

         3.       An official committee of unsecured creditors has yet to be appointed in these

Chapter 11 Cases. Further, no trustee or examiner has been requested or appointed in these




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Chapter 11 Cases.

       4.      A more detailed description of the Debtors and their business, the facts and

circumstances leading up to the filing of the Debtors’ Chapter 11 Cases, and the facts supporting

the Motion are set forth in greater detail in the Declaration of Karen Nicolaou, the Debtors’

Chief Restructuring Officer, in Support of the Debtors’ Chapter 11 Petitions and First Day

Motions (the “First Day Declaration”), which is being filed concurrently herewith and is

incorporated by reference in this Motion.

                                 III.   RELIEF REQUESTED

       5.      Pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Rule 1015-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (the “Local Rules”), the Debtors request

authorization to jointly administer their Chapter 11 cases for procedural purposes only. A

proposed form of order approving the relief requested herein is annexed hereto as Exhibit A.

       6.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors are

“affiliates” as defined in Bankruptcy Code § 101(2), as they have common ownership.

Accordingly, this Court is authorized to consolidate these cases for procedural purposes.

       7.      In addition, Rule 1015-1 of the Local Rules provides in relevant part as follows:

               “When a case is filed for or against a debtor related to a debtor with a case
               pending in the Bankruptcy Court, a party in interest may file a motion for
               joint administration in each case.”

N.D. Tex. L.B.R. 1015-1.

       8.      Because joint administration of these Chapter 11 Cases will remove the need to

prepare, replicate, file, and serve duplicative notices, applications and orders, the Debtors and


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their estates will save substantial time and expense. Further, joint administration will relieve the

Court of entering duplicative orders and maintaining duplicative files and dockets. The United

States Trustee for the Northern District of Texas (the “U.S. Trustee”) and other parties in interest

will similarly benefit from joint administration of these Chapter 11 Cases by sparing them the

time and effort of reviewing duplicative pleadings and papers.

          9.      Joint administration will not adversely affect creditors’ rights because this Motion

requests only the administrative consolidation of the estates. This Motion does not seek

substantive consolidation. As such, each creditor may still file its claim against a particular

estate.

          10.     Accordingly, the Debtors respectfully request that the caption of their cases be

modified as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

In re:                                                    §    Chapter 11
                                                          §
THE LASALLE GROUP, INC., et al.,1                         §    Case No. 19-31484
                                                          §
          Debtors.                                        §    (Jointly Administered)



1
  The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting Related
Relief [Docket No. ___] and may also be found on the Debtors’ claims agent’s website at
https://www.donlinrecano.com/lasalle. The Debtors’ mailing address is 545 E. John Carpenter Freeway, Suite 500,
Irving, Texas 75062.

          11.     The Debtors also seek the Court’s direction that a notation substantially similar to

the following notation be entered on the docket in each of the Debtors’ Chapter 11 Cases to

reflect the joint administration of these cases:




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               An order has been entered in this case directing the procedural
               consolidation and joint administration of the Chapter 11 Cases of The
               LaSalle Group, Inc., Cinco Ranch Memory Care, LLC, Pearland Memory
               Care, LLC, Riverstone Memory Care, LLC, and West Houston Memory
               Care, LLC. The Debtors’ principal offices are located at 545 E. John
               Carpenter Freeway, Suite 500, Irving, Texas 75062. The docket in Case
               No. 19-31484 should be consulted for all matters affecting this case.

       12.     Based on the foregoing, the Debtors submit that the relief requested is necessary

and appropriate, is in the best interests of their estates and creditors, and should be granted in all

respects.

       13.     Courts in this jurisdiction have approved relief similar to the relief requested in

this motion. See, e.g., In re SAS Healthcare, Inc., Case No. 19-40401 (Bankr. N.D. Tex. Feb. 6,

2019) (Docket No. 44); In re Senior Care Centers LLC, Case No. 18-33967 (Bankr. N.D. Tex.

Dec. 7, 2018) (Docket No. 65); In re Preferred Care, Inc., Case No. 17-44642 (Bankr. N.D. Tex.

Nov. 22, 2017) (Docket No. 89); In re Foundation Healthcare, Inc., Case No. 17-42571 (Bankr.

N.D. Tex. July 11, 2017) (Docket No. 39); In re HBT JV, LLC, Case No. 17-40659 (Bankr. N.D.

Tex. Feb. 23, 2017) (Docket No. 38); In re Erickson Incorporated, Case No. 16-34393 (Bankr.

N.D. Tex. Nov. 10, 2016) (Docket No. 39).

                                         IV.     NOTICE

       14.     Notice of this Motion has been provided to: (i) the Office of the United States

Trustee; (ii) the Debtors’ secured creditors; (iii) any party whose interests are directly affected by

this specific pleading; (iv) those persons who have formally appeared and requested notice and

service in these proceedings pursuant to Bankruptcy Rules 2002 and 3017; (v) counsel for any

official committees appointed by this Court; (vi) the 20 largest unsecured creditors of each of the

Debtors; and (vii) all governmental agencies having a regulatory or statutory interest in these

cases. No other or further notice need be provided.




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       WHEREFORE, the Debtors respectfully request that the Court grant the relief requested

herein and such other and further relief as it deems just and proper.

Dated: May 2, 2019

                                              CROWE & DUNLEVY, P.C.

                                              By: /s/ Vickie L. Driver
                                              Vickie L. Driver
                                              State Bar No. 24026886
                                              Christina W. Stephenson
                                              State Bar No. 24049535
                                              Christopher M. Staine
                                              State Bar No. 24104576
                                              Spaces McKinney Avenue
                                              1919 McKinney Avenue, Suite 100
                                              Dallas, TX 7501
                                              Telephone: 214.420.2163
                                              Facsimile: 214.736.1762
                                              Email: vickie.driver@crowedunlevy.com
                                              Email: christina.stephenson@crowedunlevy.com
                                              Email: christopher.stane@crowedunlevy.com

                                              PROPOSED ATTORNEYS FOR DEBTORS




                             CERTIFICATE OF CONFERENCE

        I hereby certify that on April 28, 2019, I spoke with Lisa Lambert with the US Trustee’s
Office regarding the relief requested herein. Ms. Lambert requested an opportunity to review the
specific Motion and comment on the specific relief requested herein. Accordingly, we will
continue to work with the US Trustee’s Office to address any and all concerns in advance of the
hearing on this Motion.


                                              /s/ Vickie L. Driver




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading provided by me to
Donlin Recano for service upon the parties listed below via e-mail, facsimile, overnight delivery,
and/or courier on this 2nd day of May, 2019. I further certify that Donlin Recano will file a
certificate of service with the court verifying service upon the following upon completion.

               (a)    The Office of the United States Trustee for the Northern District of Texas

               (c)    Counsel to each of the Debtors’ pre-petition secured lenders, or if none,
                      the lender itself;

               (d)    The 20 largest unsecured creditors for each Debtor regarding which the
                      pleading impacts, unless and until such time as an official committee of
                      unsecured creditors is appointed, if any;

               (e)    Counsel to any official committee established in these Chapter 11 Cases
                      pursuant to section 1102 of the Bankruptcy Code, if any;

               (f)    The Office of the Attorney General of the State of Texas;

               (g)    The United States Attorney’s Office for the Northern District of Texas;

               (h)    The Internal Revenue Service;

               (i)    The Office of Health and Human Services; and

               (j)    All parties who have filed a notice of appearance and request for notice or
                      service of all pleadings pursuant to Bankruptcy Rule 2002.




                                             /s/ Vickie L. Driver
                                             Vickie L. Driver




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                                       Schedule 1
                                     List of Debtors

#      Debtor Name                                         Case No.          EIN

1      The LaSalle Group, Inc.                         19-31484           0143

2      West Houston Memory Care, LLC                   19-31485           2760

3      Cinco Ranch Memory Care, LLC                    19-31486           2716

4      Pearland Memory Care, LLC                       19-31488           5311

5      Riverstone Memory Care, LLC                     19-31493           5407




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                                 EXHIBIT A

                              Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION
In re:                                              § Chapter 11
                                                    §
THE LASALLE GROUP, INC.,                            § Case No. 19-31484
                                                    §
         Debtor.                                    §
--------------------------------------------------- §
In re:                                              §
                                                    §
WEST HOUSTON MEMORY CARE,                           § Case No. 19-31485
LLC,                                                §
                                                    §
         Debtor.                                    §
                                                    §
--------------------------------------------------- §
                                                    §
In re:                                              §
                                                    § Case No. 19-31486
CINCO RANCH MEMORY CARE,                            §
LLC,                                                §
                                                    §
         Debtor.                                    §
--------------------------------------------------- §
In re:                                              §
                                                    §
PEARLAND MEMORY CARE, LLC,                          § Case No. 19-31488
                                                    §
         Debtor.                                    §
                                                    §
                                                    §
4842-2806-6697 v.2
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---------------------------------------------------   §
In re:                                                §
                                                      §
RIVERSTONE MEMORY CARE, LLC,                          §    Case No. 19-31493
                                                      §
         Debtor.                                      §




                     ORDER DIRECTING JOINT ADMINISTRATION
                  OF CHAPTER 11 CASES PURSUANT TO RULE 1015(b)
                OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         Upon the Motion, dated May 2, 2019 (the “Motion”), of The LaSalle Group, Inc. and its

above-named affiliates, as debtors and debtors in possession (collectively, the “Debtors”), for an

order pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rule 1015-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court

for the Northern District of Texas (the “Local Rules”) authorizing joint administration of their

Chapter 11 cases, all as more fully described in the Motion; and the Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334; and consideration of the Motion and the relief requested therein being a core proceeding

pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due and proper notice of the Motion having been provided to (i) the

Office of the United States Trustee; (ii) the Debtors’ secured creditors; (iii) any party whose

interests are directly affected by this specific pleading; (iv) those persons who have formally

appeared and requested notice and service in these proceedings pursuant to Bankruptcy Rules

2002 and 3017; (v) counsel for and the members of any official committees appointed by this

Court; (vi) the 20 largest unsecured creditors of each of the Debtors; and (vii) all governmental

agencies having a regulatory or statutory interest in these cases (collectively, the “Notice

Parties”); and due to the urgency of the circumstances surrounding this Motion and the nature of


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the requested relief; and a hearing having been held to consider the relief requested in the Motion

(the “Hearing”); and upon the Declaration of Karen Nicolaou, the Debtors’ Chief Restructuring

Officer, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions, filed

contemporaneously with the Motion, the record of the Hearing, and all of the proceedings had

before the Court; and the Court having found and determined that the relief sought in the Motion

is in the best interests of the Debtors, their estates, and creditors, and all parties in interest and

that the legal and factual bases set forth in the Motion establish just cause for the relief granted

herein; and after due deliberation and sufficient cause appearing therefor, it is hereby ORDERED

that:

         1.       The Motion is granted as set forth herein.

         2.       The above-captioned Chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 19-31484, the case number

for The LaSalle Group, Inc.

         3.       Nothing contained in this Order shall be deemed or construed as directing or

otherwise affecting the substantive consolidation of any of the above-captioned cases.

         4.       The caption of the jointly administered cases shall read as follows:

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

In re:                                                    §    Chapter 11
                                                          §
THE LASALLE GROUP, INC., et al.,1                         §    Case No. 19-19-31484
                                                          §
         Debtors.                                         §    (Jointly Administered)

1
  The Debtors in the Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting Related
Relief [Docket No. ___] and may also be found on the Debtors’ claims agent’s website at
https://www.donlinrecano.com/lasalle. The Debtors’ mailing address is 545 E. John Carpenter Freeway, Suite 500,
Irving, Texas 75062.


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        5.      A docket entry shall be made in each of the above-captioned cases substantially as

follows:

                An order has been entered in this case directing the procedural
                consolidation and joint administration of the Chapter 11 cases of The
                LaSalle Group, Inc., Cinco Ranch Memory Care, LLC, Pearland Memory
                Care, LLC, Riverstone Memory Care, LLC, and West Houston Memory
                Care, LLC. The Debtors’ principal offices are located at 545 E. John
                Carpenter Freeway, Suite 500, Irving, Texas 75062. The docket in Case
                No. 19-31484 should be consulted for all matters affecting this case.

        6.      Notwithstanding any relief granted in this Order, the Debtors shall maintain a

separate claims register for each of these Chapter 11 cases, separately file schedules of assets and

liabilities and statements of financial affairs, and report on an entity by entity basis on a monthly

operating report.

        7.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

        8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Order.

                                  # # # END OF ORDER # # #

Submitted by:

CROWE & DUNLEVY, P.C.
Vickie L. Driver
State Bar No. 24026886
Christina W. Stephenson
State Bar No. 24049535
Christopher M. Staine
State Bar No. 24104576
Spaces McKinney Avenue
1919 McKinney Avenue, Suite 100
Dallas, TX 7501
Telephone: 214.420.2163
Facsimile: 214.736.1762
Email: vickie.driver@crowedunlevy.com
Email: christina.stephenson@crowedunlevy.com
Email: christopher.stane@crowedunlevy.com

PROPOSED ATTORNEYS FOR DEBTORS


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